Case 2:22-cv-03950-DSF-AGR Document 31 Filed 09/22/22 Page 1 of 2 Page ID #:839




 1

 2
                                                                     JS-6
 3

 4

 5

 6

 7

 8
                              UNITED STATES DISTRICT COURT
 9

10                       CENTRAL DISTRICT OF CALIFORNIA

11   JAMES MELLON, as an individual and Case No. 2:22-cv-03950-DSF-AGR
     on behalf of all others similarly situated,
12
                 Plaintiff,                    ORDER DISMISSING ACTION
13                                             WITH PREJUDICE PURSUANT TO
     vs.                                       FED. R. CIV. P. 41(a)
14
     UNIVERSAL CITY STUDIOS LLC, a
15   Delaware limited liability company;
     NBCUNIVERSAL MEDIA, LLC, a
16   Delaware limited liability company; and
     DOES 1 through 100, inclusive,
17
                 Defendants.
18

19

20

21

22

23

24

25

26

27

28

                                               1
Case 2:22-cv-03950-DSF-AGR Document 31 Filed 09/22/22 Page 2 of 2 Page ID #:840




 1                                          ORDER
 2         Based on the Joint Stipulation submitted by Plaintiff James Mellon and
 3   Defendant Universal City Studios LLC pursuant to Fed. R. Civ. P. 41(a), this matter is
 4   dismissed in its entirety with prejudice. Each party shall bear its own attorneys’ fees
 5   and costs and neither party shall seek costs or fees from the other. Plaintiff also shall
 6   not file any further pleadings in this matter and shall not appeal from or in any way
 7   challenge the Court’s September 2, 2022 Order DENYING Plaintiff’s Motion to
 8   remand (Dkt. 20) and GRANTING Defendant’s Motion to Dismiss (Dkt. 21). Dkt. 29.
 9         IT IS SO ORDERED.
10

11   Dated: September 22, 2022       ________________________________
                                     ____
                                        ________________________________
12
                                          DALE S  S. FISCHER
                                          United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                2
